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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS


JAZZALYNN McMURRIN,                               §   Cause No.     _____________________
                                                  §
Plaintiff,                                        §
                                                  §
v.                                                §   Hon. ________________________, Judge
                                                  §
M. D. ANDERSON SERVICES                           §
CORPORATION d/b/a M D                             §
ANDERSON CANCER CENTER,                           §
Defendant                                         §   Hon. ____________________, Magistrate




                         PLAINTIFF'S ORIGINAL COMPLIANT
                    FOR UNLAWFUL EMPLOYMENT DISCRIMINATION
                           AND DEMAND FOR JURY TRIAL


TO THE HONORABLE JUDGE OF SAID COURT:

           NOW COMES Ms. Jazzalynn McMurrin, hereinafter called Plaintiff, by and through the

undersigned counsel, Robert Teir, PLLC, complaining of and about M.D. Anderson Services

Corporation D/B/A M D Anderson Cancer Center (“M.D. Anderson”), hereinafter called

Defendant, and for causes of action respectfully alleges and shows the honorable Court the

following:




I.         NATURE OF THE CLAIMS

     1.       This is an action for monetary damages, to redress Defendants’ unlawful employment practices

              regarding the Plaintiff, including Defendants’ unlawful discrimination, harassment, and



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           retaliation against Plaintiff because of her race/color, in violation of §1981 of the Civil Rights

           Act of 1866, 42 U.S.C. § 1981 ("Section 1981") (for the race discrimination and retaliation

           claims); Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et. seq.

           ("Title [*2] VII") (for the race discrimination and retaliation claims); as well as Chapter 21 of

           the Texas Labor Code, §21.001 et. seq., Texas Labor Code, as amended.

  2.       The Plaintiff is an experienced and educated nurse, who is currently employed by Defendant

           M.D. Anderson.

  3.       Defendant M.D. Anderson is part of the state-funded University of Texas System.

  4.       When Plaintiff McMurrin was assigned to M.D. Anderson’s Outpatient Clinic at its Galveston,

           Texas hospital, she was the sole African American employee in that department.

  5.       At that time, Ms. Murrin got along well with her supervisor and boss, Ms. Tanya Jinkersen.

  6.       In February of 2020, Ms. Jinkerson left her position with M.D. Anderson. With the manager

           position vacant and the nominal leader of the department inattentive to the department’s

           working environment and frequently uninformed, things got worse for the Plaintiff.

  7.       Things quickly changed for Ms. McMurrin after that. Shortly after her initial supervisor left,

           Ms. McMurrin was made to feel, and did feel, that she was separate, different, and less valued,

           by her fellow employees and by management.

  8.       One of the most important manifestations of this change of environment was when Plaintiff

           received her first formal admonishment (‘write-up’). The write-up was initiated by a fellow

           nurse whom Plaintiff had known for over twenty years and who, in these two decades, not once

           had a critical word to say about Plaintiff’s work, team spirit, or professionalism.




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    9.       The initial write-up was followed by others. Other nurses received no such criticism or

             treatment for similar conduct or statements. Ms. McMurrin began to feel ‘singled-out’ and

             began to feel that the reason was that she was the only Black employee in the Unit.

    10.      Sensing a deteriorating and hostile working environment, but believing that the situation could

             be addressed and corrected, Ms. McMurrin shared her concerns about being singled-out as the

             sole Black employee in her unit and the differing treatment. Her internal reporting included

             telling of the multiple false accusations, featuring accusation of engaging in conduct that she

             never engaged in, as well as instances where she was not treated as a respected and equal

             member of the nursing staff. She described feeling that she was the sole member of the second-

             class citizens when she went to work.

    11.      Plaintiff’s hopes for a review of her complaints and an improving work environment were not

             fulfilled. Management not only ignored her concerns, it also ignored three members of the

             teaching faculty who approached them on Plaintiff’s behalf to talk about the discrimination and

             mistreatment she was facing.

    12.      Like at workplaces around the country, and around the world, things became uncertain,

             confusing, and worrisome in Ms. Murrin’s M.D. Anderson unit in March of 2020, when

             COVID-19 becoming a serious and dangerous threat to nearly everyone.1


1
 The first case of Covid-19 in the Houston area was diagnosed on March 3, 2020. On March 6, 2020,
Mayor Steve Adler of Austin cancelled the internationally popular SXSW (South by Southwest festival).
On March 11, Mayor Sylvester Turner declared a citywide emergency and the Houston Rodeo, the state’s
biggest annual event, was cancelled. That same evening, the National Basketball Association suspended
all games, and President Trump banned incoming flights from Europe. On March 12th, Major League
baseball and NCAA basketball joined the NBA in suspending play. On March 13th, the University of
Texas’ main campus in Austin shut down, following the decision of Rice University to do so. In
Washington, President Trump declared a national emergency. March 15th brought Texas’ first Covid
death. On March 24, 2020, Harris County, the State’s largest county, issued a stay-at-home Order. By

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    13.     Your Plaintiff was on a pre-planned time-off/vacation when places were closing and

            precautions like masks and social distancing were mandated. Upon returning to

            work, Ms. Murrin was verbally attacked by another nurse, who decided unilaterally

            that Ms. McMurrin’s absence was both wrongful and disloyal. An Assistant Nurse

            Manager terminated this hurtful and discriminatory discussion, saying: “this is an

            inappropriate communication and has to stop.”

    14.     Later, on or about April 9, 2020, Plaintiff was summoned to her manager’s office. In

            addition to my manager, Associate Director Leon McGrew was there. Once there,

            she was accused of ‘rolling her eyes’ when a physician asked for her assistance.

            McMurrin was told that the ‘eye rolling’ was going to be the subject of yet another

            write-up, and that management also accused her of making “inappropriate

            communications” to staff members via text messaging. Neither the eye rolling

            accusation, the lack of helpfulness accusation, or the inappropriate communications

            accusation had any truth to them. Indeed when Ms. McMurrin asked when these

            things occurred, she was told that they occurred on a week when she did not step foot

            on a M.D. Anderson campus. It was clear to her that accusations were being invented

            to make her look like a bad, uncooperative, and obstinate employee. McMurrin

            concluded that many people in her department, including management, wanted her to

            be gone, as, then, they could enjoy an ethnically pure department.




March 26th, the United States had more Covid cases than any other country in the world. On March 29th,
Gov. Abbott required all visitors from, and all people coming, from Louisiana to quarantine upon entering
the State.


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  15.   At that time, Plaintiff’s Assistant Manager ceased talking to her, including about

        work matters and duties. With this ‘silent treatment,’ Plaintiff found herself in the

        surreal position of being ignored by her Assistant Manager, as if she was not there or

        invisible.

  16.   In what seemed an obvious retaliation to punish her for racing issues of race

        discrimination, management assignedf her to a far less desired position, in the

        Defendant’s Injections Unit, for two days in succession. The Injection Clinic was

        often tedious work, that neither Plaintiff nor her colleagues welcomed or looked

        forward to doing it. No employee was asked to work there for two days in a row,

        except McMurrin, the employee who was complaining about race discrimination.

        Similarly, an assignment at the Injection Clinic was supposed to be followed by two

        weeks without returning there. That was the case, except for Ms. McMurrin.

  17.   On or about On or about May 13, 2021, Ms. McMurrin was summoned to the

        Director’s office. Immediately after she was seated, he said to her: “Can you do me a

        favor – quit playing with these white folks.” The Director advised her to “watch your

        step.”

  18.   When a new manager for her unit was hired, things went from bad to worse for the

        Plaintiff. One time, all nurses except her were invited to the manager’s office for a

        chat or meeting. The Plaintiff thought that the absence of so many nurses from the

        patient floors presented a danger, and went to the nurse’s office to say this. The result

        was yet another write-up, this time with the Plaintiff accused of using “inappropriate”

        language, displaying “hostile body language,” and using profanity.


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      19.     Next, the Plaintiff’s workstation was moved to a new location, without any advance

              notice, including Plaintiff’s personal belongings. As if this was not sufficiently

              demeaning, the Plaintiff’s desk photographs were put into a trash bin.

      20.     About that time, the bottom fell out and the racist attitudes, and racist talk, became

              explicit, and nearly constant. To diminish or eliminate comments about Black

              people’s make-up, Plaintiff ceased wearing cosmetic eyelashes. It did not help. It

              only changed the object of people’s spoken derision from eyebrows to other body

              parts and features, including the thickness of Plaintiff’s lips.

      21.     Around that time, a co-worker who used lip fillers shared her view that “Jazz {the

              Plaintiff} don’t have to buy lips, ass, or suntan”

      22.     Not once has any such discussion happened about the appearance, or body parts, of a

              white employee (or an Asian/Pacific Islander or Hispanic or employee).

      23.     Plaintiff’s administrative grievances resulted in no changes and were usually ignored.

              What had become clear to Ms. McMurrin was that she was the ‘invisible’ employee,

              not seen as an equal, not seen as respected, not seen as valuable, and that she was an

              employee whose input is not valued, and perhaps never would be.

      24.     To help her cope, Plaintiff sought professional help and now takes prescribed anti-

              depression medication. The medicine does help, but her awful working situation and

              environment has resulted in the Plaintiff wrestling with depression, anxiety, and

              mental anguish, including psychosomatic headaches and other ailments.



II.         JURISDICTION AND VENUE



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       25.     The honorable Court has subject-matter jurisdiction over this action pursuant to 28

               U.S.C. §§ 1331 and 1343, as this action involves federal questions arising from

               statutes adopted by Congress and signed into law by the President of the United

               States regarding the deprivation of Plaintiff's civil rights under Title VII, Section

               1981.

       26.     The honorable Court has supplemental jurisdiction over Plaintiff's related state law claims

               pursuant to 28 U.S.C. § 1367(a).

       27.     The honorable Court has personal jurisdiction over the entity Defendant, because this

               Defendant is a Texas-based business, with its history, operations, and employees all,

               or nearly all, in the State of Texas.

       28.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a substantial

               part of the events or omissions giving rise to this action, including the unlawful

               employment practices alleged herein, occurred in this federal district.




III.         PARTIES AND SERVICE

       29.     Plaintiff, Ms. Jazzalynn McMurrin, is an individual whose address has the

               delightfully Texan name of 9502 Yellow Rose Drive, Texas City, Galveston County,

               Texas [77591-1432].

       30.     The last three numbers of Ms. McMurrin's (Texas) driver's license number are 010.

               The last three numbers of her social security number are 775.

       31.     Defendant M.D. Anderson Cancer Services Corporation, also known as M D

               Anderson Cancer Center, is an educational institution and hospital within the

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              University of Texas system. The M.D. Anderson hospital where Plaintiff is

              employed is located at 301 University Boulevard, in Galveston, Texas [77555-5302].

              Its switchboard telephone number is 409.772.1011.2

      32.     Defendant is organized under the laws of the State of Texas and service of process

              upon Defendant may be affected pursuant to Rule 4 of the Federal Rules of Civil

              Procedure. Service of said Defendant as described above can be affected by personal

              delivery upon its registered agent for service of process registered with the honorable

              Texas Secretary of State, to wit CT Corporation, located at 1999 Bryan, Suite 900, in

              Dallas, Dallas County, Texas [75201-3140], and by direct communication with the

              Defendant’s usual legal counsel, the office of the Attorney General of Texas.

      33.     Defendant M.D. Anderson has a duty to avoid unnecessary expenses in serving such a

              summons. The Plaintiff, through counsel, shall notify Defendant, through its usual

              counsel, that this action has been commenced in this honorable Court and request that

              it waive formal service of a summons.



IV.         CONDITIONS PRECEDENT

      34.     This suit is brought within ninety days of the Plaintiff’s receipt of the ‘right to sue’ letter from

              the United States Equal Employment Opportunity Commission.

      35.     The EEOC filing was timely.




2
 According to the online encyclopedia Wikipedia, MDACC employees approximately 11,000 people See
WIKIPEDIA “University of Texas Medical Branch,” at
https://en.wikipedia.org/wiki/University_of_Texas_Medical_Branch.


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     36.     All conditions precedent to the institution of this lawsuit have been fulfilled.



V.         FACTS

     A.      The Beginning of a Pattern of Discrimination

     37.     Your Plaintiff a professional nurse. While a relatively quiet person, probably more introverted

             than gregarious, she is, for colleagues, supervisors, and patients, both approachable and eager to

             be helpful. Her dedication to being helpful to others is why Plaintiff became a nurse.

     38.     Plaintiff McMurrin interviewed for employment at M.D. Anderson on or around July

             6, 2018. Mr. Leon McGrew conducted the interview on behalf of MDACC. The

             interview seemed normal and went well.

     39.     A short while after this interview, Plaintiff received an offer of employment letter.

             She began working at M.D. Anderson on or about August 6, 2018. Her initial

             assignment with the Defendant was as a Clinical Nurse for Inpatient Care.

     40.     On or about February 18, 2021, she transferred to work at the Outpatient Clinic,

             which was under the management of Ms. Tanya Jinkersen.

     41.     When Ms. McMurrin joined the outpatient clinic, she was the only African American

             nurse in the Department. Initially, this had no effect on her employment, her daily

             tasks, routines, or her assignments or relationship with her co-workers.

     42.     At the time, Plaintiff felt a comradery with Ms. Jinkersen, her supervisor, and boss.

     43.     During the time Plaintiff worked under Ms. Jinkersen’s supervision, she received no

             questions, complaints, or concerns about how she communicated with her colleagues,

             or about her dress, appearance, voice, or word choices.


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  44.   Ms. Jinkersen left her position with M.D. Anderson in February of 2020. Since this

        colleague’s departure, Plaintiff has experienced a one-way downward path. Before

        long, Plaintiff realized that she was not only treated worse, she was also treated

        differently, and worse, than the White and other non-Black employees.

  45.   The discrimination wore down Plaintiff McMurrin’s spirits, her energy level, and her

        gentle confidence.

  46.   One of the worst blows to Plaintiff’s self-esteem and emotional health was the ever

        reducing, and soon disappearing, loss of trust from her co-workers. This diminishing

        trust occurred and continued notwithstanding her consistent efforts to treat all her

        colleagues in a professional and friendly manner.

  47.   An example of the changed environment and the changed way Ms. Murrin was

        treated at work was that she received her first formal admonishment, referred to on

        the Defendant’s campuses as a ‘write up.’ One write-up soon became a few write-

        ups.

  48.   Yet, Jazzalynn McMurrin’s nursing work remained, as it had been for years, not just

        satisfactory, but exemplary. She could be counted upon as a team-player, a

        cooperative colleague, and someone who could be counted on to be helpful with any

        reasonable request that fell within the scope of my employment.

  49.   Plaintiff expressed her concerns about being singled-out as the sole Black employee

        in her unit and the differing treatment. She professionally explained that she was

        mistreated and was the object of false accusations about conduct that she never

        engaged in, and the ever-increasing number of times where she was not given respect

        as a colleague and a nursing professional. She also shared her conclusion that the

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           department had singled out its one African American nurse to be the one, and only,

           second-class citizen of the unit.

    50.    The expression of her concerns led to nothing and was usually not even greeted with

           reply. Management at M.D. Anderson not only ignored the Plaintiff’s concerns, they

           also ignored three members of the teaching faculty who approached them on my

           behalf to talk about the discrimination and mistreatment Plaintiff was facing.

    51.    Subsequently, Plaintiff learned that a M.D. Nurse Educator approached yet higher

           management to speak up on Plaintiff’s behalf. The words of others, like her own, did

           not result in any beneficial actions or changes.



    B.     Onset of the COVID Pandemic

    52.    Like at workplaces around the country and around the world, things became

           uncertain, confusing, and worrisome in Ms. McMurrin’s department, and M.D.

           Anderson generally, in March of 2020 when COVID-19 becoming a serious and

           dangerous threat to nearly everyone.3




3
 The first case of Covid-19 in the Houston area was diagnosed on March 3, 2020. On March 11, Mayor
Sylvester Turner of Houston declared a citywide emergency and the Houston Rodeo, the state’s biggest
annual event, was cancelled. That same evening, the National Basketball Association suspended all
games, and President Trump banned incoming flights from Europe. On March 12th, Major League
baseball and NCAA basketball joined the NBA in suspending play. On March 13th, the University of
Texas’ main campus in Austin shut down, following the decision of Rice University to do so. In
Washington, President Trump declared a national emergency. On March 24, 2020, Harris County, the
State’s largest county, issued a stay-at-home Order. On March 29th, Gov. Abbott required all people
coming from Louisiana to quarantine upon entering the State. By March 26th, the United States had more
Covid cases than any other country in the world.


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  53.   Plaintiff McMurrin was on vacation leave, and on a holiday planned months

        beforehand, when the new virus went from worrisome to alarming. She returned

        from vacation leave on or about March 23, 2020. Even while away from work, she

        tried to stay in touch and learn what she could about the adaptations being made and

        how M.D. Anderson was changing to keep its staff and its patients safe.

  54.   When Ms. McMurrin returned to work, she was verbally attacked by another (white)

        nurse, who declared that it was wrongful and disloyal to be out of work in the crisis.

        This nurse even insinuated that she had access to, and read, Ms. McMurrin’s medical

        records. While nothing this nurse said to the Plaintiff has any basis in fact, it was still

        demeaning and rude to express the accusations in the form of a temper tantrum. Yet,

        some of those in hearing distance appeared to see these mean-spirited comments as

        somehow funny.

  55.   Plaintiff responded to the attack by pointing out that there was nothing funny about

        anyone contracting this virus, which frequently caused a loss of the ability to breathe

        normally. She added that her absence did not present a threat to the health of her co-

        workers, but her co-workers’ penchant for sneezing, coughing, and spitting in the

        hospital’s trash bins did so.

  56.   An Assistant Nurse Manager entered and terminated the discussion, saying: “this is

        an inappropriate communication and has to stop.”

  57.   On or about April 9, 2020, McMurrin was summoned to her manager’s office. In

        addition to the manager, Associate Director Leon McGrew was present. Once there,

        McMurrin was accused of ‘rolling her eyes’ at a physician when the doctor asked for

        her assistance walking a patient out of the facility. She was told that the alleged eye-

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        rolling was going to the subject of a write-up, to be joined by the accusation that she

        made “inappropriate communications” to staff via text messaging.

  58.   Plaintiff listened respectfully, but lacked any understanding of what the manager was

        talking about. Plaintiff was not aware of any inappropriate communications, via text

        messaging or otherwise. She was equally unaware of any inappropriate reaction to

        any physician’s request for my assistance.

  59.   Plaintiff asked when these things allegedly happened, and was told, vaguely, that they

        occurred in the last week of March. Because Plaintiff was on leave for a portion of

        that week, she was not on any M.D. Anderson campus when the alleged ‘eye rolling’

        occurred. Plaintiff was never shown what it was that she had allegedly sent by text

        messaging.

  60.   The factual rebuttal, which should have shown that the accusations against Plaintiff

        could not have been true, was ignored. The threatened write-up was completed, with

        the accusation of poor on-campus conduct even when she was not on campus at the

        time of the alleged improper conduct. In the write-up, Plaintiff was advised to take a

        course in ‘professionalism,’ which is normally offered on the Main Campus (in

        Galveston), notwithstanding the (then) facility-wide directive that all in-person

        instruction was suspended due to the COVID virus.

  61.   No such directive (to take an in-person course) was given to any non-African

        American employee in this frightening and uncertain time. Because of the

        discrimination, Plaintiff informed Mr. McGrew, the Director, that she was being

        treated harshly, unequally, and unfairly and that she wanted to file a grievance.


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  62.   At this time, Ms. McMurrin’s unit still had the manager position vacant. She

        therefore requested to speak with the person who was the nominal leader of the

        department. Plaintiff explained to her what was going on and set forth the

        increasingly differing treatment than white employees in the brief time allotted her.

        She never received anything resembling a reply, yet alone corrective action.

  63.   Things only became rougher and sourer. Feeling that she was running out of options,

        McMurrin wrote her Director and asked to speak with him.

  64.   She did not get a reply from my Director. Instead, Mr. McGrew came to speak with

        Ms. McMurrin and said that he wanted to meet with her and another nurse to “find

        out what the hell is going on.” He did meet with the two nurses and Plaintiff once

        again expressed her concerns about her ever-declining treatment at work.

  65.   Apparently in response, Ms. McMurrin’s Assistant Manager ceased to communicate

        with her. With this bizarre ‘silent treatment,’ Plaintiff was in the unenviable surreal

        position of having her Assistant Manager ignoring her as if she were not there or was

        invisible.



  C.    From Christmas Season, 2020

  66.   On or about December 21, 2020, Ms. McMurrin received an email from her Assistant

        Manager, asking if she completed the professionalism course that she was asked to

        take. This message came against the backdrop of this Assistant Manager’s almost

        complete silence/refusal to communicate with McMurrin.

  67.   Ms. McMurrin reported that she had not taken the course. She explained that she did

        not do so because, on the day after this request was made, she filed an internal

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        grievance, where she stated that the referral to professionalism training arose from

        stereotypes and hostility to her relatively formal manner of speaking and her

        relatively deep voice.

  68.   That grievance went nowhere. The Plaintiff never received a response to it. From all

        appearances, it led to no investigation, review, or thought.

  69.   In January 2021, Ms. McMurrin was assigned to work the Defendant’s Injection

        Clinic for two successive days.

  70.   The Injection Clinic was often tedious work, which neither Plaintiff now her

        colleagues welcomed. Because it was disfavored work, there was a routine practice

        not to assign a nurse to the clinic for two days in a row. Indeed, to Plaintiff’s

        knowledge, no one was ever assigned to work there for two days in a row since she

        began working at M.D. Anderson. She felt that she was being punished for

        expressing concerns about discrimination and that the assignment was yet another

        example of being treated worse than her white colleagues.

  71.   Another response to the dislike of Injection Clinic work was no employee was

        supposed to return to the clinic until at least six weeks had passed since the last

        assignment there. Yet, after only ten days since such an assignment, Plaintiff was

        rejected to return to the clinic. She asked her manager why this disparate treatment

        was happening, eliciting the response that there were employees out, and that

        McMurrin had agreed to cover another nurse’s absence. McMurrin had agreed to

        cover that nurse’s tasks, but, when she was sent back to the Injection Clinic, that

        nurse was at the facility and was working. This made the response pure nonsense.


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  72.   Plaintiff was sternly told by the manager that the manager was not going to make that

        nurse “make-up the lost day at the Clinic,” because she does not do such a thing.

        McMurrin responded that she did do such a thing; and that she had expressly told me

        that it was correct to have two consecutive days there because I had previously

        missed a day. Nevertheless, McMurrin went to work at the Injection Clinic.

  73.   Plaintiff again contacted her Director, telling of harassment and retaliation for raising

        prior instances of harassment. The Director invited Plaintiff to talk with him about

        this in person. When they met, the Director said that he wanted a nurse from her

        department to be brought into the discussion to try to “resolve all issues.” That nurse

        showed up at the Director’s office, but remained standing, in the doorway.

        Additionally, even though the nurses were addressing higher management, the nurse

        had a smirk-like smile on her face the entire time she was there.

  74.   The group discussed the nurse’s lack of communication with the Plaintiff. McMurrin

        noted that her lack of communication was noticed by others, and that the lesson she

        may be imparting is that employees who raise any concerns, no matter how

        legitimate, would find themselves getting ‘the silent treatment.’ The nurse resisted

        this explanation, saying instead that she had ceased trying to communicate with

        McMurrin because she felt that “I can’t approach you because of your tone.” She

        added that the way that McMurrin speaks is “inappropriate.”

  75.   Plaintiff asked the nurse for examples of ‘inappropriate’ communications. Instead of

        providing any examples, the nurse said, vaguely, that, when she asked me to speak

        with her about ‘doctor concerns,’ I became “defensive,” and adopted a “tone” that

        was “unwarranted.”

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    76.     Plaintiff does speak with what some may identify as a certain masculinity in her

            voice, perhaps because it is a tad deeper than most female voices. Plaintiff patiently

            and engagingly explained that she had that bass-level voice since she was a child.

            Plaintiff left the three-way meeting believing that progress had been made. Plaintiff

            thanked the nurse and the Director and returned to her duties.

    77.     While, afterwards, that nurse did become a bit more courteous to Ms. McMurrin,

            there was still a coldness and a distance whenever the nurse addressed her. If this

            nurse came into an office with McMurrin and other health care professionals, or

            approached a group that included McMurrin, the nurse would only speak to the white

            people there (that is, people who were not Black), but not to the Plaintiff.

    78.     While working at the Injection Clinic, Plaintiff came across a patient scheduled to

            receive an injection of Goserelin.4 Plaintiff McMurrin had not been trained to give

            such an injection to a patient. Concerned about the safety of the patient in light of

            her lack of training, Plaintiff asked another nurse to provide the mediation.

    79.     On or about May 13, 2021, the Plaintiff was summoned to the Director’s office.

            Immediately after she sat down, the Director bluntly said: “Can you do me a favor –

            quit playing with these white folks.”




4
  Goserelin is an injected medicine that suppresses the production of gender-specific hormones. It is used
to treat hormone-sensitive cancers, such as breast and prostate cancer, as well as some gynecological
disorders. It is also sometimes used to treat precocious puberty. It is administered solely through a
subcutaneous injection.


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  80.   Such an explicit reference to race in the workplace, and an instruction to act

        differently to the majority group, was unheard of and left Ms. McMurrin stunned.

  81.   The Director told Plaintiff that the nurse with whom she previously met in his office

        had written her up for wrongful practices, specifically for her request that some other

        person administer Goserelin to a patient.

  82.   Ms. Murrin was horrified. She explained that she had never administered an injection

        of this medicine before. She also explained that I had said nothing to that nurse about

        what had occurred at the Injection Clinic. She said that if a nurse had reported for

        saying something that that was inappropriate, it had to be a bold face lie. Indeed, it

        could not have been true because that nurse had shut down all communications

        between the two of them.

  83.   The Director advised the Plaintiff to “watch your step.” Plaintiff had the feeling that

        she was being cautioned that her colleagues may pretend to be friendly but were, still,

        out to get rid of her.



  D.    New Management: The Spring of 2021

  84.   A new manager was appointed on or around March 18, 2021.

  85.   On or about June 8, 2021, the Plaintiff was multi-tasking with patient education, acute

        injection treatments, and a chemo-therapy injection. A Registered Nurse pulled the

        medical assistant from the floor for a meeting, leaving Plaintiff with solo

        responsibility for the patients and tasks the two of them had been tackling together.

        While doing her best to keep up, including with data entry on the computer, Plaintiff

        could hear the steady giggling from the room where this ‘meeting’ was occurring.

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  86.   Concerned that she was being asked to handle too many situations and too many

        patients, and frightened about the potential repercussions for patients’ wellbeing and

        safety, Plaintiff went to the room where the gathering was occurring and knocked on

        the door. She saw that only white employees had gathered there. Plaintiff said that

        help was needed on the patient floor, for some time, adding that it seemed

        incongruous to host a meeting in the middle of a particularly busy day.

  87.   The very next day, Plaintiff learned that her concern about patient welfare resulted in

        yet another write-up. This time, Plaintiff was accused of entering a staff meeting and

        using “inappropriate” language, that she displayed “hostile body language,” and that

        she had used profanity. The alleged profanity use was, ‘what is so special about a

        damn meeting?’

  88.   While people may disagree whether the use of ‘damn,’ after the 1939 release of

        ‘Gone With the Wind,’ qualifies as profanity, the Plaintiff had said no such thing.

        Moreover, your Plaintiff knows how to use colorful language when she feels it is

        needed. If there was a need to use profanity at work, the offensive words from her

        mouth would most certainly not be ‘damn.’

  89.   Once again wrongly accused, and feeling even more frustrated because it was

        happening yet again, Ms. McMurrin went to the nurse who prepared the write-up and

        asked her for a chance to discuss the new accusations.

  90.   Ms. McMurrin began by saying that she was a person who values and practices

        politeness, and therefore knocked on the meeting door and did not burst-in upon

        anyone. She explained the concerns she had about being short staffed on the patient


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        floor. She summarized by saying that the write-up was not quite exaggerated; it was

        simply untrue.

  91.   This nurse replied that “we” had coached me about professionalism on a prior

        occasion. She added that, when McMurrin was previously written-up, Mr. McGrew

        had “dropped the ball on that” so there was no further disciplinary action at that time,

        and that the hospital had “just let it go.”

  92.   For what seemed like the hundredth time, McMurrin patiently replied that she could

        not do anything about the relatively deep tone of my voice. She added that, whether

        her vocal range had a low C or a high F, it should not matter in the workplace. In any

        case, she explained, she could not help the voice that God and nature had given her.

  93.   In response, McMurrin was told that she can control these things, and that was why

        she was being sent to a professionalism class. Once again, McMurrin had the feeling

        that I was speaking in a language no one understood, or that the person to whom I

        was speaking had turned momentarily deaf. She stated that she was not being heard

        and that she intended to file a grievance.

  94.   After this dialogue, McMurrin approached three of the five people who were in the

        room when she knocked at the meeting door. All three told her that they heard no

        curse word, from McMurrin or from anyone else. Yet, the write-up stayed.

  95.   Facing the write-up, Ms. McMurrin told her manager that she was going to the

        hospital’s Human Resources Department to talk to them about what had grown into

        an incessant pattern of discrimination and a racially antagonistic working

        environment.



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  96.    Before Plaintiff had the chance to speak with anyone in HR, the Director asked to

         speak with McMurrin on June 10, 2021. There, the Director asked her to remember

         their previous conversation, where he had told her to look out for herself. She replied

         that she had been trying to do just that, that she did not do anything wrong, that she

         did not pick fights or disagreements, and that she wanted nothing more than the

         drama and the baseless criticism to stop. The Director only said that he would

         investigate and promised to get back to me.

  97.    Later that same day, Plaintiff’s workstation was moved to a new location, without any

         advance notice to her, including moving her personal belongings. As if this was not

         sufficiently demeaning, the people who moved her things placed her photographs in a

         nearby trash bin.

  98.    Later, Plaintiff was asked to return to my manager’s office. There, I was told that the

         Director had completed his investigation. The manager said that, as a result of that

         investigation, “we” decided to remove the reference to profanity in the write-up.

  99.    This very partial and entirely unsatisfactory acknowledge that the profanity allegation

         had to be withdrawn because it lacked any factual basis, yet the write-up containing

         other false averment was not withdrawn. The obvious lesson, to anyone paying

         attention, is that white people could feel free to lie about disliked employees, because

         something will eventually stick if you make enough false accusations.

  100.   Ms. McMurrin proceeded to request an Executive Review of her grievance, as she

         had not received any response to her grievances or her request for an Executive

         Review. Meanwhile, her manager’s ‘silent treatment’ continued.


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  101.   To make an unusually uncomfortable work situation even more uncomfortable, Ms.

         McMurrin became the object of an increased flow of highly intrusive, busybody

         inquiries and bizarre requests, including being asked to remove my wig, and

         including questions such as, “how long is your real hair?” McMurrin also continued

         to receive negative and hostile comments about her make-up.

  102.   To the Plaintiff’s knowledge, no white nurse ever was the object of such questions.

         In an attempt to reduce some of this hostility and personal insults, Plaintiff ceased

         wearing cosmetic eyelashes.

  103.   By this time, out of fear people that her white colleagues would pretend they hear

         hostility from her, McMurrin adopted a practice not to speak unless a question is

         addressed to her.

  104.   It did not help. Things got worse, and even more racially charged. For example, the

         other employees surrounding the Plaintiff set out to make the subject of the size of

         Ms. McMurrin’s lips the topic of frequent conversation, with one saying with a sigh

         that she guessed that McMurrin was stuck with the lips she had. The obvious,

         spoken-allowed reference to the trope and stereotype of black folks with puffy lips

         was painful and demoralizing.

  105.   When a co-worker received lip fillers, that worker said, referring to herself, “Stan said

         you look like a white Jazz.” Later, the same co-worker went on to report that another

         said to her that “Jazz {the Plaintiff} don’t have to buy lips, ass, or suntan.”

  106.   Not once has any such discussion happened about the appearance, or body parts, of a

         white employee (or an Asian/Pacific Islander or Hispanic or employee). It would be

         equally offensive for the floor conversation to be about the length of Jewish

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         employees’ noses, or whether our Moslem colleagues started the day by flying a

         plane into a skyscraper. But, when it came to Jazzalynn McMurrin, and Black

         people, all expectations of decorum go out the window, and it is open season.

  107.   All these occurrences have left the Plaintiff in a functional no-person’s land, singled

         out as the only Black employee in the unit, with multiple write-ups, afraid to wear

         even the most basic make-up, or to say so much as a ‘good morning’ to her

         colleagues, and where she is the only employee seemingly sentenced to a perpetual

         silent treatment. No white person at MDACC has such burdens and stress imposed

         upon them.

  108.   Meanwhile, in the face of Ms. McMurrin’s administrative grievances, there has been

         no response and no corrective action. For the Plaintiff, this meant that her employer

         decided she can be treated as if she were invisible, to be neither seen nor heard, where

         she need not be addressed, or treated, like a professional, co-employee, or human

         being.

  109.   The daily put-downs and discriminatory treatment have led to severe challenges with

         anxiety, depression, and self-esteem. The Plaintiff sought professional help and is

         now taking prescribed anti-depression medication.

  110.   The Plaintiff has found that the prescribed medication helps, a little bit. She believes,

         very strongly, that what would help more is for people would apply the same speech

         filters and conduct rules that they routinely do for their white colleagues. What

         would help even more is if Defendant M.D. Anderson becomes committed to actually

         heeding the equal employment opportunity and diversity goals that it crows about on


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             its website. Then, not only could her employment be made pleasant and professional,

             but the State of Texas could also stop paying discrimination plaintiffs, collectively,

             millions of dollars a year in damages.

      111.   M.D. Anderson, on its website, advertises itself as an institution that “strives to

             maintain an environment free from discrimination against individuals on the basis of

             race, color, national origin, sex, age, religion, disability, sexual orientation, gender

             identity, genetic information, or veteran status.”5

      112.   On or about August 29, 2018, the United States Equal Employment Opportunity

             Commission issued the Plaintiff a “Right to Sue” letter.



VI.      First Cause of Action: Discrimination and Harassment in Violation of Section 1981

      113.   Plaintiff hereby re-alleges each and every allegation in paragraphs 1 through 112,

             inclusive, as if fully set forth herein.

      114.   Defendants have discriminated against the Plaintiff on the basis of her race/color

             (African-American) in violation of Section 1981, by denying her the same terms and

             conditions of employment available to employees who are not African-American,

             including, but not limited to, subjecting her to disparate working conditions, and

             denying her the opportunity to work in an employment setting free of unlawful

             harassment.

      115.   Defendants have discriminated against Plaintiff on the basis of her race/color in

             violation of Section 1981 by creating, fostering, accepting, ratifying and/or otherwise


5
  See MDACC WEBSITE, at https://www.MDACC.edu/gsbs/gsbs-home/diversity-equity-and-
inclusion/diversity-statement.

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         failing to prevent or to remedy a hostile work environment that included, among other

         things, severe and pervasive harassment of Plaintiff because of her race/color.

  116.   Defendants have discriminated against the Plaintiff on the basis of her race/color

         (African American) in violation of Section 1981 by their barrage of stereotypical and

         demeaning text messaging images, including open discussions about her lips, hair,

         voice, and make-up.

  117.   As a direct and proximate result of Defendants' unlawful and discriminatory conduct

         in violation of Section 1981, Plaintiff has suffered, and continue to suffer, severe

         mental anguish and draining emotional distress, including, but not limited to,

         depression, humiliation, embarrassment, stress and anxiety, loss of self-esteem and

         self-confidence, emotional pain and suffering, as well as physical injury, for which

         she is entitled to an award of monetary damages and other relief.

  118.   Defendants’ unlawful and discriminatory conduct in violation of Section 1981 was

         outrageous and malicious, was intended to injure Plaintiff, and was done with

         conscious disregard of Plaintiff's civil rights, entitling Plaintiff to an award of

         punitive (exemplary) damages.



  VII.   Second Cause of Action: Retaliation in Violation of Section 1981

  119.   Plaintiff hereby re-alleges each and every allegation in paragraphs 1 through 118,

         inclusive, as if fully set forth herein.

  120.   Defendants have retaliated against the Plaintiff in violation of Section 1981 for

         opposing and/or complaining of Defendant's discriminatory practices against herself


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          by, inter alia, subjecting Plaintiff to acts of discrimination, harassment, and

          humiliation, subjecting her to dehumanizing and sophomoric working conditions.

   121.   As a direct and proximate result of Defendant's unlawful and retaliatory conduct in

          violation of Section 1981, Plaintiff has suffered, and continue to suffer, severe mental

          anguish and draining emotional distress, including, but not limited to, depression,

          humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-

          confidence, emotional pain and suffering, as well as physical injury, for which she is

          entitled to an award of monetary damages and other relief.

   122.   Defendants' unlawful and retaliatory conduct in violation of Section 1981 was

          outrageous and malicious, was intended to injure Plaintiff, and was done with

          conscious disregard of Plaintiff's civil rights, entitling Plaintiff to an award of

          punitive (exemplary) damages.



VIII. Third Cause of Action: Discrimination and Harassment in Violation of Title VII

   123.   Plaintiff hereby re-alleges each and every allegation in paragraphs 1 through 122,

          inclusive, as if fully set forth herein.

   124.   Defendants have discriminated against Plaintiff on the basis of her race/color

          (African-American) and/or national origin, in violation of Title VII, by denying her

          the same terms and conditions of employment available to employees who are not

          African-American, including, but not limited to, subjecting her to disparate working

          conditions and denying her the opportunity to work in a normal working employment

          environment and one that is free of unlawful harassment.



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  125.   Defendants have discriminated against Plaintiff on the basis of her race/color and/or

         national origin in violation of Title VII by creating, fostering, accepting, ratifying

         and/or otherwise failing to prevent or to remedy a hostile work environment that

         included, inter alia, severe and pervasive harassment of Plaintiff because of her

         race/color and/or national origin.

  126.   Defendants have discriminated against Plaintiff on the basis of her race/color and/or

         national origin in violation of Title VII by bombarding her with bigoted tropes and

         stereotypes that dehumanize Black people.

  127.   As a direct and proximate result of Defendants’ unlawful and discriminatory conduct

         in violation of Title VII, Plaintiff has suffered, and continue to suffer, severe mental

         anguish and exhausting emotional distress, including, but not limited to, depression,

         humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-

         confidence, emotional pain and suffering, as well as physical injury, for which she is

         entitled to an award of monetary damages and other relief.

  128.   Defendants’ unlawful and discriminatory conduct in violation of Title VII was

         outrageous and malicious, was intended to injure Plaintiff, and was done with

         conscious disregard of Plaintiff's civil rights, entitling Plaintiff to an award of

         punitive (exemplary) damages.




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IX.      Fourth Cause of Action: Race and Color Discrimination in Violation of the Texas

         Labor Code

      129.   Plaintiff hereby re-alleges each and every allegation in paragraphs 1 through 128,

             inclusive, as if fully set forth herein.

      130.   Defendants have discriminated against Plaintiff on the basis of her race/color

             (African-American) and/or national origin, in violation of Chapter 21 of the Texas

             Labor Code, by denying her the same terms and conditions of employment available

             to employees who are not African-American, including, but not limited to, subjecting

             her to disparate working conditions and denying her the opportunity to work in a

             normal working employment environment and one that is free of unlawful

             harassment.

      131.   Defendants have discriminated against Plaintiff on the basis of her race/color and/or

             national origin in violation of Chapter 21 of the Texas Labor Code by creating,

             fostering, accepting, ratifying and/or otherwise failing to prevent or to remedy a

             hostile work environment that included, inter alia, severe and pervasive harassment

             of Plaintiff because of her race/color and/or national origin.

      132.   As a direct and proximate result of Defendants’ unlawful and discriminatory conduct

             in violation of Chapter 21 of the Texas Labor Code, Plaintiff has suffered, and

             continue to suffer, severe mental anguish and exhausting emotional distress,

             including, but not limited to, depression, humiliation, embarrassment, stress and

             anxiety, loss of self-esteem and self-confidence, emotional pain and suffering, as well

             as physical injury, for which she is entitled to an award of monetary damages and

             other relief.

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     133.   Defendants’ unlawful and discriminatory conduct in violation of Chapter 21 of the

            Texas Labor Code was outrageous and malicious, was intended to injure Plaintiff, and

            was done with conscious disregard of Plaintiff's civil rights, entitling Plaintiff to an

            award of punitive (exemplary) damages.



X.      Fifth Cause of Action: Negligent Hiring, Retention, and Supervision

     134.   Plaintiff hereby re-alleges each and every allegation in paragraphs 1 through 133,

            inclusive, as if fully set forth herein.

     135.   Defendant M.D. Anderson violated its duty as Plaintiff's employer to provide a safe

            workplace, to take reasonable steps to determine the fitness of Plaintiff's co-workers

            and supervisors, and to reasonably supervise Plaintiff's co-workers and supervisors

            by, inter alia, failing and refusing to investigate and/or take appropriate disciplinary

            or other action in response to Plaintiff's verbal and written complaints of

            discriminatory and harassing conduct by her co-workers and/or supervisors on the

            basis of her race/color and her national origin, thereby permitting to continue and

            condoning such insulting, degrading, bigoted conduct.

     136.   Defendant M.D. Anderson had actual knowledge of the undue risk of harm to which

            it was thereby exposing Plaintiff based on Plaintiff's multiple written and verbal

            complaints to her supervisors, Human Resources, Internal Investigations, and other

            officials at the facility.

     137.   As a direct and proximate result of Defendant M.D. Anderson 's breach of duty to

            supervise, Plaintiff has been injured and has incurred damages thereby.


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XI.      Sixth Cause of Action: Intentional Infliction of Emotional Distress

      138.   Plaintiff hereby re-alleges each and every allegation in paragraphs 1 through 137,

             inclusive, as if fully set forth herein.

      139.   Defendant intentionally or recklessly, by the actions described herein, caused the

             Plaintiff severe emotional distress, which continues.

      140.   Defendant's conduct was extreme and outrageous and proximately caused Plaintiff

             severe emotional distress.

      141.   Plaintiff suffered damages for which Plaintiff herein sues.



XII.     Claim for Legal Fees and Expenses

      142.   Should she prevail, as expected, in this employment discrimination lawsuit, the

             Plaintiff is entitled to an award of her legal fees and expenses, pursuant to 42 U.S.C.

             §2000e-5 (k).

      143.   Should she prevail, as expected, in this employment discrimination lawsuit, the

             Plaintiff is also entitled to an award of her legal fees and expenses, pursuant to

             §21.259 of the Texas Labor Code.

      144.   The Plaintiff respectfully claims for reimbursement of the entirety of her legal fees

             and expenses, before, during, and following the present suit.




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                                    PRAYER FOR RELIEF



       WHEREFORE, your Plaintiff, Ms. Jazzalynn McMurrin respectfully prays that the

honorable Court enter judgment in her favor and against each Defendants, containing the

following relief:

       a)      A declaratory judgment that the actions, conduct and practices of Defendants

               complained of herein violate the laws of the United States and the laws of the

               State of Texas;

       b)      An injunction and Order permanently restraining Defendants from engaging in

               such unlawful conduct;

       c)      An order directing Defendant M.D. Anderson to place Plaintiff in the position she

               would have occupied but for Defendants' discriminatory and harassing treatment

               and otherwise unlawful conduct, as well as to take such affirmative action as is

               necessary to ensure that the effects of these unlawful employment practices are

               eliminated and do not continue to affect her employment, career, and personal

               life.

       d)      An award of damages in an amount to be determined at trial, of at least one

               hundred and fifty thousand dollars, plus pre-judgment and post-judgment interest,

               to compensate Plaintiff for all of her monetary and/or economic harm.

       e)      An award of damages in an amount to be determined at trial, plus pre-judgment

               and post-judgment interest, to compensate Plaintiff for harm to her professional

               and personal reputations and loss of career fulfillment.


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       f)      An award of damages in an amount to be determined at trial, plus pre-judgment

               and post-judgment interest, to compensate Plaintiff for all of her non-monetary

               and/or compensatory harm, including, but not limited to, compensation for her

               mental anguish, humiliation, embarrassment, stress and anxiety, emotional pain

               and suffering, emotional distress, and physical injuries.

       g)      An award of damages for any and all other monetary and/or non-monetary losses

               suffered by Plaintiff in an amount to be determined at trial, plus pre-judgment and

               post-judgment interest.

       h)      An award of punitive (exemplary) damages;

       i)      An award of costs that Plaintiff has incurred in this action; and

       j)      An award of the Plaintiff's reasonable attorneys' fees and expenses to the fullest

               extent permitted by law.




       Plaintiff Jazzalynn McMurrin further prays for such other and further relief to which she

might be entitled, or which this honorable Court may deem just and proper, whether in law or in

equity, and whether under the Constitution, statutes, Rules, regulations, and common law of the

United States, or the Constitution, statutes, and common law of the State of Texas.




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                                       JURY DEMAND

       Your Plaintiff hereby respectfully demands a trial by jury on all issues of fact and

damages stated herein.



Dated: Magnolia, Montgomery County, Texas

June 1, 2022



                                             Respectfully submitted,

                                             ROBERT TEIR, PLLC

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